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IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT

United States Court of Appea|s
Fifth Circuit

FlLED
No_ 16_20779 February 14, 2018
Ly|e W. Cayce
C|erk
GIULLIAN STEELE; RAUL ALEl\/[AN; YURY X. BASTOS; JARROD
DENYER; SUSAN MCMILLAN, ET AL ' united stat
es District Court

Southem District of Texas
Plaintiffs - Appellants Cross-Appellees LED

MAR “ 8 2018

V.
LEASING ENTERPRIsEs, LIMITED, g‘*“"¢ 1’° 5'@‘!'¢¥» Clerk cream

Defendant - Appellee Cross-Appellant

 

Appeals from the United States District Court
for the Southern District of TeXas
USDC No. 4:09-CV-2789

 

Before HlGGlNBOTHAl\/l, JONES, and GRAVES, Circuit Judges.
PER CURlAl\/l:*

The appellants challenge the district court’s determination of the
amount of attorneys’ fees awarded on remand in this Fair Labor Standards Act
case. Steele l). Leasing Enters., Ltd., 826 F.3d 237 (5th Cir. 2016). The appellee
cross-appeals only as to the fee award for appellate Work. We have considered

this matter on the basis of the briefs, the record, the applicable laW, and oral

 

* Pursuant to 5TH CIR. R. 47.5, the court has determined that this opinion should not
be published and is not precedent except under the limited circumstances set forth in 5TH
CIR. R. 47.5.4.

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argument. Having done so, we conclude that the district court did not abuse

its discretion in determining the amount of attorneys’ fees awarded. Thus, we

AFFlRl\/l.

